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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


HUNT CONSTRUCTION GROUP, INC.,                             )
  an Indiana corporation,                                  )
                                                           )
      Plaintiff/Counter-Defendant,                         )       Case No. 1:17-cv-00215-LY
                                                           )
      v.                                                   )
                                                           )       Honorable Lee Yeakel
COBB MECHANICAL CONTRACTORS, INC.,                         )
  a Colorado corporation,                                  )
                                                           )
and                                                        )
                                                           )
LIBERTY MUTUAL INSURANCE COMPANY,                          )
   a Massachusetts corporation,                            )
                                                           )
      Defendants/Counter-Plaintiffs.                       )


                                     NOTICE OF JOINDER

           Plaintiff Hunt Construction Group, Inc. hereby joins in Defendant Cobb Mechanical

  Contractors, Inc.’s Motion to Approve E-Discovery Protocol [Dkt. 50] and Reply Brief in Support

  of its Motion to Approve E-Discovery Protocol [Dkt. 52] for all of the reasons set forth therein.

  Date: August 17, 2017

                                            Respectfully submitted,


                                            By: /s/ Casey Low
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                                CERTIFICATE OF SERVICE

       I hereby certify that this Notice of Joinder was electronically filed with the Court and that

counsel of record, who are deemed to have consented to electronic service in the above- referenced

case, are being served this 17th day of August 2017, with a copy of the above-document via the

Court’s CM/ECF System.



                                                 /s/ Casey Low
                                                  Casey Low
